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 6   United States of America

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 8               IN THE UNITED STATES DISTRICT COURT FOR THE

 9                       EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,          )       Case No. 01:00CR5395 AWI
                                        )
12                    Plaintiff,        )       MOTION AND ORDER TO DISMISS
                                        )       INDICTMENT
13        v.                            )
                                        )
14   DAVID FIGUEROA-HERNANDEZ,          )
     aka David Figueroa Hernandez,      )
15                                      )
                    Defendant.          )
16   _______________________________

17        Pursuant to Federal Rule of Criminal Procedure 48(a),

18   Plaintiff United States of America, by and through its attorneys

19   of record, BENJAMIN B. WAGNER, United States Attorney, and

20   Kathleen Anne Servatius, Assistant United States Attorney, hereby

21   seek leave of court and move to dismiss the indictment in this

22   case without prejudice, as to the above-named defendant, in the

23   interest of justice.

24   DATED: April 6, 2012                       Respectfully submitted,
                                                BENJAMIN B. WAGNER
25                                              United States Attorney

26                                     By:       /s/ Kathleen Anne Servatius
                                                KATHLEEN ANNE SERVATIUS
27                                              Assistant U.S. Attorney

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 1

 2                                      ORDER

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 4        IT IS HEREBY ORDERED that the indictment in this case be

 5   dismissed without prejudice in the interest of justice.

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 7   IT IS SO ORDERED.
 8
     Dated:       April 6, 2012
 9   0m8i78                         CHIEF UNITED STATES DISTRICT JUDGE
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